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 7   Telephone: (212) 759-6300
 8   Attorneys for Defendant RAMON DESAGE
 9
10
                                 UNITED STATES DISTRICT COURT
11
                                        DISTRICT OF NEVADA
12
13
14   UNITED STATES OF AMERICA,           )
                                         )               Case No.: 2:13-cr-00039-JAD-VCF
15         Plaintiff,                    )
                                         )
16                 vs.                   )
                                         )
17   RAMON DESAGE,                       )
                                         )
18         Defendant.                    )
     ____________________________________)
19
                               AMENDED UNOPPOSED MOTION TO
20                              TRAVEL AND PROPOSED ORDER
21          Comes now, Defendant Ramon Desage, by and through his counsel, Richard A. Wright,
22   Esquire and Richard B. Herman, Esquire, and hereby moves this Court for permission to amend Mr.
23   Desage’s travel dates from Las Vegas, Nevada to New York City to September 8, 2015 and returning
24   on September 10, 2015. While in New York City, Mr. Desage will be meeting with attorneys and
25   he will be staying at the St. Regis Hotel, 2 East 55th Street, New York, New York. On August 11,
26   2015, August 12, 2015 and August 19, 2015 the Court approved Mr. Desage’s initial travel motions;
27   unfortunately, Mr. Desage’s meeting in New York has been repeatedly cancelled and we are trying
28   to reschedule with the Court’s approval.
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 1           On September 1, 2015, Richard B. Herman, Counsel for Mr. Desage, personally discussed
 2   Mr. Desage’s initial travel request with Pre-Trial Services Officer Zack Bowen, who advises he
 3   consents to this travel request. Mr. Herman provided Officer Bowen with Mr. Desage’s travel
 4   itinerary and hotel information. Mr. Desage will continue with electronic monitoring and will abide
 5   by all other bail conditions. Upon his return to Las Vegas on September 10, 2015, Mr. Desage will
 6   give a courtesy call to Officer Bowen.
 7           Counsel for Mr. Desage has discussed the initial request with Assistant United States
 8   Attorney Gregory Damm, who has no opposition to it.
 9           DATED this 1st day of September 2015.
10
                                                  Respectfully submitted:
11
12
                                                  BY          /s/ Richard A. Wright
13                                                  RICHARD A. WRIGHT, ESQUIRE
                                                    300 S. Fourth Street
14                                                  Suite 701
                                                    Las Vegas, NV 89101
15                                                 Telephone: (702) 382-4004
                                                   Attorney for Defendant, Ramon Desage
16
17
                                                  BY          /s/ Richard B. Herman
18                                                  RICHARD B. HERMAN, ESQUIRE
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19                                                 445 Park Avenue
                                                   9th Floor
20                                                  New York, NY 10022
                                                   Telephone: (212) 759-6300
21                                                 Attorney for Defendant, Ramon Desage
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 1
 2
 3                                              ORDER
 4
 5            This matter having come before the Court on the amended unopposed motion of Defendant
 6   Ramon Desage, and good cause appearing, Defendant’s Motion for Permission to Travel to New
 7   York City on September 8, 2015 and returning September 10, 2015 is GRANTED.
 8
 9                                               __________________________________________
                                                 HONORABLE JENNIFER A. DORSEY
10
11                                                Dated this 2nd day of September, 2015.
     Respectfully submitted by:
12
     WRIGHT STANISH & WINCKLER
13
14   By       /s/ Richard A. Wright
          RICHARD A. WRIGHT
15
16   RICHARD B. HERMAN, P.C.
17
     By      /s/ Richard B. Herman
18        RICHARD B. HERMAN
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